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EXHIBIT “K”
Case o-24-Oo0/1-asSt DOC lo-ll Filed ti/tyv/2z4 entered Llilyiz4 10lo9706

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FILED

U.S. Bankruptcy Court
Eastern District of New York

5/30/2023

Debtor 1 Blue Diamond Air Systems, Inc

Robert A. Gavin, Clerk

Official Form 410

Proof of Claim 04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Altach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, Itemized statements of running accounts, contracts, judgments,
marigages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,

explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571,

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309} that you recelved.

a Identify the Claim

1.Who is the current Sheet Metal Workers’ National Pension Fund
creditor?

Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with the debtor

2.Has this claim been No

acquired from [4 Yes. From whom?
someone else?

3.Where should notices Where s|

EG different)
and payre nts to the Sheet Metal Workers’ National Pension Fund
Federal Rule of Name Name
Bankruptcy Procedure .
(FRBP) 2002{g) 3180 Fairview Park Dr,, Suite 400
Falls Church, VA 22042
Contact phone 7037397048 Contact phone
Contact email keddis@smwnbf.org Contact email

Uniform claim identifier for electronic payments in chapter 13 (if you use one):

4.Does this claim amend [] No
one already filed? Yes. Claim number on court claims registry (if known) 7 Filed on yana/9999

MM / DO AYYYY

5.Do you know if anyone No

else has filed a proof (Yes. Who made the earlier filing?
of claim for this claim?

Official Form 410 Proof of Claim page 1

Case 0-24-0600 /1-ast

Give Information About the Claim as of the Date the Case Was Filed

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6.Do you have any
number you use to
identify the debtor?

L} No

Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: 0755

?. How much is the
claim?

$ 19087733,76

Does this amount include interest or other charges?

i No

QD Yes. Attach statement itemizing interest, fees, expenses, or
other charges required by Bankruptcy Rule 3001 (c){2)(A).

8.What is the basis of
the claim?

Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
death, or credit card. Attach redacted copies of any documents supporting the claim required by

Bankruptcy Rule 3001(c).

Limit disclosing information that is entitled to privacy, such as healthcare information.

Provisional withdrawal liability assessment owed to a multiemployer pension

fund.

9. Is all or part of the
claim secured?

lA No

LJ Yes. The claim is secured by a lien on property.

Nature of property:

C Real estate. if the claim is secured by the debtor's principal residence, file a Morigage
Proof of Claim Attachment (Official Form 410-A) with this Proof of Claim.

1 Motor vehicle
CJ Other. Describe:

Basis for perfection:

Attach redacted copies of documents, if any, that show evidence of perfection of a security
interest (for example, a mortgage, lien, certificate of title, financing statement, or other

document that shows the lien has been filed or recorded.)

(The sum of the secured and

Value of property: $
Amount of the claim that is $
secured:

Amount of the claim that is $
unsecured:

Amount necessary to cure any default as of the

date of the petition:

Annual Interest Rate (when case was filed)

Ol Fixed
O Variable

$

unsecured amounts should
match the amount in line 7.)

%

10.ls this claim based on
a lease?

lM No

CL] Yes, Amount necessary to cure any default as of the date of the petition.$

a right of setoff?

11.1s this claim subject to No

Yes. Identify the property:

Official Form 410

Proof of Claim

page 2

Case 0-24-0600 /1-ast

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12.)s all or part of the claim
entitled to priority under
11 U.S.C. § 607 (aj?

ld No

O Yes. Check aff that apply. Amount entitled to priority

A claim may be partly
priority and partly

lawl imits the amount
entitled to priority.

nonpricrity. For example,
in some categories, the

C Domestic support obligations (including alimony and child support) ¢
under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).

C7) Up to $3,350* of deposits toward purchase, lease, or rental of $

property or services for personal, family, or household use. 11
U.S.C. § 507{a)(7). :

C1 Wages, salaries, or commissions (up to $15,150") earned within ¢
180 days before the bankruptcy petition is filed or the debtor's

business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).

(] Taxes or penalties owed to governmental units. 11 U.S.C. § $
507{a)(8).

XO Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). ¢

C Other. Specify subsection of 11 U.S.C, § 507(a)(_) that applies $

* Amounts are subject ta adjustment on 4/01/26 and every 3 years after that for cases begun on or after the date
of adjustment.

Sign Below

The person completing
this proof of claim must
sign and date It. FRBP
9011(b).

If you file this claim
electronically, FRBP
5005(a)(2} authorizes courts
to establish local rules
specifying what a signature
is.

4 person who files a
fraudulent claim could be
fined up to $500,000,
imprisoned for up to 6
years, or both.

18 U.S.C. 8§ 152, 157 and
3571.

Check the appropriate box:

| am the creditor.

C 1am the creditor's attorney or authorized agent.

C1 1am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004,
(1 lama guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
the amount of the clalm, the creditor gave the debtor credit for any payments received loward the debt.

| have examined the information in this Proof of Claim and have a reasonable belief that the information is true
and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on date 5/30/2023

MM /DDIYYYY

fsf Kevin Eddis

Signature

Print the name of the person who is completing and signing this claim:

Name Kevin Eddis
First name Middle name Last name

Title Legal Specialist

Company Sheet Metal Workers' National Pension Fund
Identify the corporate servicer as the company if the authorized agent ls a
servicer

Address

3180 Fairview Park Dr., Suite 400

Number Street
Falls Church, VA 22042

City State ZIP Code

Contact phone =—- 7037397048 Email —_keddis@smwnbf.org

Official Form 410

Proof of Claim page 3

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Case 0-24-0600 /1-ast

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Ze Sea‘soe'z 608'692'6 oe sze'ese'l ezo'seo'spe'l  ter'agt'tzs - 968'6Z|'S ezs‘ge0'sos SLOz
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Exhibit ll

Sheet Metal Workers’ National Pension Fund
Determination of Employer Withdrawal Liability Payments
For Withdrawals During the Plan Year Ending December 31, 2022

Employer Name: mond Air Systems (020755 & 132677)
Date of Withdrawal: 1/24/2023
Date of Notice: 3/21/2023
Net Withdrawal Liability Assessment: $19,087,733.76
Hours for Which 3-Year
Plan Year Employer Contribution Contributions Average
Ended 12/31 Contributions Rate Were Required Hours
2013 1,892,406 12.67 149,361.20
2014 2,098,440 13.56 154,752.21
2015 1,963,325 14.51 435,308.43 146,473.95
2016 1,797,327 15.53 115,732.55 135,264.40
2017 1,994,057 17.08 116,748.07 122,596.35
2018 2,669,662 18.28 146,042.80 126,174.47
2019 2,666,112 18.28 145,848.56 136,213.14
2020 2,522,005 16.62 151,745.19 147,878.85
2021 1,917,572 16.95 143,131.08 136,908.28
2022 2,036,579 18.15 112,208.23 125,694.83
2023 18.15 0.00

Payment Amount:

a) Average hours during highest consecutive 3-year period: 147,878.85
b) Highest hourly contribution rate during 10-year period: $18.28
c) Annual payment: ((a)x(b}) $2,703,225.38

d) Quarterly payment: ((c}4) $675,806.35

5/28/2023
Payment
Number

=

2
3
4
5
6
7
8

9
10
11
12
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15
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17
18
19
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24
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33
34
35
36
37
38

Totals

vasePer Fzogs-ast iam 2-2 ran 2 ler Us7s0/z3 Deg Catarfene I> page 3

Estimated
Payment

Date
May 4, 2023
August 1, 2023

November 1, 2023
February 1, 2024

May 1, 2024
August 1, 2024

November 1, 2024
February 1, 2025

May 1, 2025
August 1, 2025

November 1, 2025
February 1, 2026

May 1, 2026
August 1, 2026

November 1, 2026
February 1, 2027

May 1, 2027
August 1, 2027

November 1, 2027
February 1, 2028

May 1, 2028
August 1, 2028

November 7, 2028
February 1, 2029

May 1, 2029
August 1, 2028

November 1, 2029
February 1, 2030

May 1, 2030
August 1, 2030

November 1, 2030
February 1, 2034

May 1, 2031
August 1, 2031

November 1, 2031
February 7, 2032

May 1, 2032
August 1, 2032

5/28/2023

of 3

Exhibit Ill

Sheet Metal Workers’ National Pension Fund
Schedule Of Employer Withdrawal Liability Payments
Interest = 7.50%

Employer Name:
Date of Withdrawal:
Net Withdrawal Liability Assessment:

Biue Diamond Air Systems (020755 & 132677)
1/24/2023
$19,087,733.76

100%

$19,087,733.76

$25,385,228.89

$6,297,495.13

Quarterly
Balance Payment Principal Annual Cumulative
Owed Amount Balance Interest Principal
$19,087 733.76 $675,806.35 $18,411,927.41 675,806.35
18,411,927.41 675,806.35  17,736,124.06 1,351,612.70
17,736,121.08 675,806.35 17,060,314.71 2,027,419.05
17,060,314.71 675,806.35  16,384,508.36 2,703,225.40
17,613,346.49 675,806.35 16,937,540.14 $1,228,838.13 2,150,193.62
16,937 ,540.14 675,806.35  16,261,733.79 2,825,999.97
16,261 ,733.79 675,806.35  15,585,927.44 3,501 806.32
15,585,927.44 675,806.35 14,910,121.09 4,177,612.67
16,028,380.17 675,806.35 15,352,573.82 1,118,259.08 3,735,159.94
15,352,573.82 675,806.35 14,676,767.47 4,410,966,.29
14,676,767.47 675,806.35  14,000,961.12 5,086,772.64
14,000,961.12 675,806.35 13,325,154.77 5,762,578.99
14,324,541.38 675,806.35 13,648,735.03 999,386.61 5,438,998.73
13,648,735.03 675,806.35 12,972,928.68 6,114,805.08
12,972,928.68 675,806.35 12,297,122.33 6,790,611.43
12,297,122.33 675,806.35  11,621,315.98 7,466,417.78
12,492,914.68 675,806.35 11,817,108.33 871,598.70 7,270,625.43
11,817,108.33 675,806.35 11,141,301.98 7,946,431,78
11,141,301.98 675,806.35  10,465,495,63 8,622,238.13
10,465,495.63 675,806.35 9,789,689.28 9,298,044.48
10,523,915.98 675,806.35 9,848,109.63 734,226.70 9,239,624.13
9,848, 109.63 675,806.35 9,172,303.28 9,915,430.48
9,172,303.28 675,806.35 8,496,496.93 10,591,236.83
8,496,496.93 675,806.35 7 820,690.58 11,267 043.18
8,407 242.37 675,806.35 7,731 ,436.02 586,551.79 11,356,297.74
7,731,436.02 675,806.35 7,055,629,67 12,032,104.09
7,055 ,629,67 675,806.35 6,379,823,32 12,707,910,44
6,379,823.32 675,806.35 5,704 ,016.97 13,383,716.79
6,131,818.24 675,806.35 5,456,011.89 427,801.27 13,631,721.87
5,456,011.89 675,806.35 4,780,205.54 14,307,528.22
4,780,205.54 675,806.35 4,104,399,.19 14,983,334.57
4,104,399.19 675,806.35 3,428 592.84 15,659,140.92
3,685,737.30 675,806.35 3,009,930.95 257,144.46 16,077,802,81
3,009,930.95 675,806.35 2,334,124,60 16,753,609,16
2,334,124.60 675,806.35 1,658,318.25 17 ,429,415.51
1,658,318.25 675,806.35 982,511.90 18,105,221.86
1,056,200.29 675,806.35 380,393.94 73,688.39 18,707,339.82
380,393.94 380,393.94

Cumulative

interest
$0.00
6.00
0.00
0.00
1,228,838.13
1,228,838.13
1 ,228,838.13.
1,228,838.13
2,347 097.21
2,347 ,097,21
2,347,097.24
2,347 097.21
3,346 483.82
3,346,483.82
3,345 483.82
3,346,483.82
4,218,082.52

4,218,082 52

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5,538,861 .01 .
5,538,661.01
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5,966,662 .28
5,966,662,28
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6,223,806.74
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